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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



    RXD MEDIA,LLC,

                           Plainlijf,

            V.                                                Case No. I:18-cv-486


    IP APPLICATION DEVELOPMENT ET AL.


                           Defendants.



                                  MEMORANDUM OPINION


        This matter comes before the Court on Plaintiff and Defendants' cross-motions for

 summary judgment. For the following reasons. Defendants' motion for summary judgment is

 granted. Plaintiffs motion for partial summary judgment is denied.

                                          I. Background

        A. The Parties, Mark, Applications, and Registrations at Issue

        At issue in this trademark case is the use of the IPAD mark in commerce. Plaintiff is

 RXD Media. RXD launched its website, ipad.mobi, in 2007. According to RXD,ipad.mobi was

 meant to be an online platform primarily for notetaking. In 2016 RXD relaunched its website as

 ipadtoday.com. Ipadtoday.eom offers a wider array of services than ipad.mobi. Instead of simply
 being a notetaking platform it is a mobile notes and cloud storage site. Defendants are IP App
 and Apple. Apple is the technological titan founded by Steve Jobs. IP App is a subsidiary Apple
 used to apply for trademarks. Both Plaintiff and Defendants claim to have priority in the rights to
 use the IPAD mark in commerce.
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